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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )     Case No. 21-cr-0378
                                   )
PAUL C RAE,                        )
                                   )
                                   )
                 Defendant         )
                                   )



     DEFENDANT PAUL RAE’S REPLY TO OPPOSITION TO MOTION MODIFY
                      CONDITIONS OF RELEASE




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       Defendant Paul Rae hereby respectfully files this Memorandum in Reply to the United

States' Opposition to his Motion to Modify the terms and conditions of his pretrial release.

       Defendant Rae did not intent to suggest to this Court that he has not in the past had

instances where he did not strictly comply with the terms and conditions of release. Those

episodes and instances are a matter of record in this case, and the Court has admonished him

with respect thereto.

       The BUI matter in Florida State Court has been resolved with a "diversionary"

disposition which involves no adjudication of guilt on the offense charged.

       The earlier July boating incident involving running aground on a sandbar was not

reported to law enforcement because there was no reason to report it to law enforcement. Boats

running aground in shallow Florida waterways is not an unusual event depending on the depth of

the channel and the water level. In October law enforcement agencies were called by nearby

residents out of concern that someone might have been injured when the boat ran into the

mangroves.

       Defendant Rae did not have among his conditions of pretrial release a "no alcohol"

condition. There is no basis for the Government's stated concern about "trouble with alcohol"

from one episode. As noted -- and agreed upon by the Government -- Defendant Rae has not

failed a single test since he came under supervision more than 12 months ago. There is no

justification for continued drug testing and the associated costs to the Defendant.

       The request to terminate location monitoring is based on a single point -- location

monitoring is no longer being requested by Pretrial Services for January 6th Defendants who are

not charged with a crime of violence. Defendant Rae is not charged with a crime of

violence. The purpose for location monitoring no longer applies given the change in Court

policy. If he was arrested today, location monitoring would not be imposed. This is why Pretrial

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Services has expressed to Counsel for Defendant that it may not oppose ending location

monitoring.

       As for the "Weekly Reporting" of his schedule, while Defendant Rae would prefer to

eliminate that condition due to the highly volatile nature of his work schedule from week to

week, he is willing to work with his Pretrial Services Officer to determine if an alternative

format could satisfy the Officer's needs while reducing some of the burden on Mr. Rae to

assemble it each weekend.



Date: March 16, 2022                  Respectfully Submitted,



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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, March 16, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                   /s/ John M. Pierce
                                             John M. Pierce




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